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              Exhibit 2
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       Unused Materials Specifics
• Non-circulating for 3-5 years
• Duplicate copies no longer needed
• Periodicals that are available in full-text
• Unused volumes in sets or series
• Unneeded titles in subject areas used less frequently
               11
• ''Hot topics popular more than 5 years ago
• More books than needed on one topic
• Formats no longer popular (VHS)
• Material that is no longer important to the collection
  (curricula, demographics)
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          Poor Content Specifics
      •   Outdated and obsolete {computers, law, science, space, health,
          technology, travel)
      •   Trivial subject matter (outdated popular culture)
      •   Mediocre writing style
      •   Inaccurate or false information
      •   Unused sets of books (keep used volumes if they meet local needs)
      •   Repetitious series
      •   Superseded editions
      •   Resources not on standard lists or that weren't reviewed
      •   Materials that contain bias, racist, sexist terminology or views
      •   Unneeded duplicates
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      •   Self-published or small press titles that are not circulating, especially
          those added as gifts
